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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                           Civil Action No. ________________________________

  CHARLES WILDES, individually; FRANCISCO DORIA, individually;
  ARIC HAROLD, individually; AKIVA KATZ, individually;
  JAMES GURRY, individually; RONALD NELSON, individually;
  and on behalf of All Others Similarly Situated;
           Plaintiffs,
  v.
  BITCONNECT INTERNATIONAL PLC, a foreign corporation;
  BITCONNECT LTD., a foreign corporation;
  BITCONNECT TRADING LTD., a foreign corporation;
  GLENN ARCARO, an individual;
  TREVON BROWN a/k/a TREVON JAMES, an individual;
  RYAN HILDRETH, an individual;
  CRAIG GRANT, an individual;
  JOHN DOE NO. 1 a/k/a CRYPTONICK, an individual;
  and JOHN DOE NOS. 2-10, individuals;
        Defendants.
  ________________________________________________/

                                          CLASS ACTION COMPLAINT

                         ♫ Welcome to Wonderland / Where everything you see /
                         I mean from “A” to “Z” / Ain’t what it seems to be.
                           Welcome to Wonderland / Set phasers up to stun
       Turn off the lights when done / Good luck and thanks a ton / Ciao, baby, gotta run! ♫

  So concludes the song “Welcome to Wonderland” from the short-lived Broadway play “Wonderland,”

  which tells the story of Alice’s trip through the looking glass into a fantastical dreamlike world where

  the impossible is possible and logic must be suspended to succeed. Those song lyrics seem equally

  applicable to BITCONNECT, the recently-shuttered cryptocurrency lending and exchange platform

  that grew to hold a market cap of over $2.5 billion with its multilevel marketing structure and

  illogically-promised investment returns of forty percent (40%) monthly and one percent (1%)

  compounding interest daily regardless of market performance. Sure enough, the crypto-Wonderland

  created by BITCONNECT was too good to be real; as the business’ closure in January 2018 revealed

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  a Ponzi scheme, numerous securities laws violations, and thousands upon thousands of investors who

  lost 90+% of their holdings at BITCONNECT. Things at BITCONNECT weren’t what they seemed

  to be; and now that the misdeeds of the company and its army of promoters have been revealed,

  BITCONNECT investors are commencing this action to prevent the wrongdoers from simply turning

  off the lights and dancing away singing: “Ciao, baby, gotta run!”

                                               INTRODUCTION

          Plaintiffs CHARLES WILDES, FRANCISCO DORIA, ARIC HAROLD, AKIVA KATZ,

  JAMES GURRY, and RONALD NELSON (“Plaintiffs”), individually and on behalf of all other

  persons similarly situated as defined herein, by and through undersigned counsel, hereby sue

  BITCONNECT INTERNATIONAL PLC, a foreign corporation; BITCONNECT LTD., a foreign

  corporation; BITCONNECT TRADING LTD., a foreign corporation (the business entities

  collectively referred to herein as “BITCONNECT”); GLENN ARCARO, an individual; TREVON

  BROWN a/k/a TREVON JAMES, an individual; RYAN HILDRETH, an individual; CRAIG

  GRANT, an individual; JOHN DOE NO. 1 a/k/a CRYPTONICK, an individual; and JOHN DOE

  NOS. 2-10, individuals (collectively referred to as “Defendants”), for damages and for equitable relief.

  In support thereof, Plaintiffs allege as follows:

                                      PRELIMINARY STATEMENT

          1.      This nationwide class action is brought by Plaintiffs CHARLES WILDES,

  FRANCISCO DORIA, ARIC HAROLD, AKIVA KATZ, JAMES GURRY, and RONALD

  NELSON, individually and on behalf of a class of similarly situated investors (the “Class Members”)

  who contributed millions of dollars’ worth of cryptocurrency to a trading platform and lending

  program fraudulently promoted and operated by Defendants. Plaintiffs alone were responsible for

  the following investments:



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                                                            CURRENT VALUATION OF LOSS
                                    NAME
                                                                (in USD) [APPROX.]
                               Charles Wildes                             $11,500.00
                              Francisco Doria                            $141,500.00
                                 Aric Harold                             $128,000.00
                                 Akiva Katz                              $200,000.00
                                James Gurry                              $150,000.00
                               Ronald Nelson                             $140,000.00
                                   TOTAL                                 $771,000.00

          2.      In mid-January 2018, BITCONNECT boasted a market cap of over $2.5 billion.

  However, that purported fortune appears to have been built through the use of fraudulent means and

  a wide-reaching Ponzi scheme that defrauded investors, made a mockery of state and federal securities

  laws, and employed an army of social media mercenaries who were paid to bring more unsuspecting

  victims into the fraud.

          3.      BITCONNECT guaranteed investors up to a forty percent (40%) total return per

  month on their investments, following a four-tier investment system based on the sum of the initial

  deposit. The more money an investor put down, the greater the return that investor could purportedly

  receive each month over a scheduled period of time -- regardless of market performance or the

  fluctuating price of cryptocurrency.

          4.      Moreover, regardless of the amount of the initial investment, each investor was

  promised a one percent (1%) return on investment on a daily basis, which BITCONNECT purported

  would be generated by its own proprietary trading bot and volatility software -- a promise that would

  turn a $1,000 investment into a $50 million return within three years of daily compounded interest.

          5.      Even more aggressive than its promises, though, was BITCONNECT’s enlisted army

  of multi-level affiliate marketers who were paid by BITCONNECT to use BITCONNECT-supplied

  materials to recruit new investors through eye-catching and interest-piquing social media channels,

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  such as YouTube and Facebook. Defendants GLENN ARCARO, TREVON BROWN a/k/a

  TREVON JAMES, RYAN HILDRETH, CRAIG GRANT, and CRYPTONICK were among the

  more prominent BITCONNECT recruiters, but were certainly not the only ones to preach the false

  gospel of BITCONNECT to unsuspecting investors in the United States and abroad.

           6.        On January 17, 2018 -- as the unsustainable growth of BITCONNECT’s scheme grew

  larger, and the sound of government regulators coming to take a closer look into BITCONNECT’s

  operations grew louder -- BITCONNECT suddenly shut down its trading platform and lending

  program, a maneuver that precipitated an almost immediate ninety percent (90%) plummet in the

  value of BITCONNECT’s investors’ $2.5+ billion holdings.

           7.        Although BITCONNECT contended, in the wake of terminating its trading and

  lending functions, that it would continue to support the proprietary cryptocurrency token it had

  created and required its investors to purchase (the BitConnect Coin [BCC]), that promise was hollow;

  as the only true value the token held was on BITCONNECT’s own platform. The damage was already

  done, and investors holding BCC suffered 90+% losses on their investments at BITCONNECT.

           8.        Plaintiffs and Class Members seek compensatory and equitable relief rescinding their

  investments in BITCONNECT and restoring to them the assets and funds they were fraudulently

  induced into investing.

                                            GENERAL ALLEGATIONS

                                                       THE PARTIES

                                                          Plaintiffs

           9.        Plaintiff CHARLES WILDES (“WILDES”) is an individual domiciled in Boynton

  Beach, Florida and is sui juris.

           10.       Plaintiff FRANCISCO DORIA (“DORIA”) is an individual domiciled in Miami,

  Florida and is sui juris.

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              11.     Plaintiff ARIC HAROLD (“HAROLD”) is an individual domiciled in Dover, Florida

  and is sui juris.

              12.     Plaintiff AKIVA KATZ (“KATZ”) is an individual domiciled in Chicago, Illinois and

  is sui juris.

              13.     Plaintiff JAMES GURRY (“GURRY”) is an individual domiciled in Covina, California

  and is sui juris.

              14.     Plaintiff RONALD NELSON (“NELSON”) is an individual domiciled in

  Sacramento, California and is sui juris.

                                             The Corporate Defendants

              15.     Defendant BITCONNECT INTERNATIONAL PLC, is a foreign for-profit

  company organized in England and Wales and incorporated under the Companies Act 2006 as a

  private company limited by shares. BITCONNECT INTERNATIONAL PLC lists its principal place

  of business at Grant Thornton House, 22 Melton Street, Kings Cross, London, United Kingdom NW

  1 2EP.

              16.     Defendant BITCONNECT LTD. is a foreign for-profit company organized in

  England and Wales and incorporated under the Companies Act 2006 as a private company limited by

  shares. BITCONNECT INTERNATIONAL PLC lists its principal place of business at The

  Panorama, Park Street, Ashford, United Kingdom TN24 8EZ.

              17.     Defendant BITCONNECT TRADING LTD., is a foreign for-profit company

  organized in England and Wales and incorporated under the Companies Act 2006 as a private

  company limited by shares. BITCONNECT TRADING LTD. lists its principal place of business at

  23 St. Elizabeth Avenue, Bootle, United Kingdom L20 6FA.

              18.     Upon information and belief, the BITCONNECT entities are wholly interrelated and

  are used interchangeably as instrumentalities for the fraud described herein.

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                                    The Affiliate/Recruiter Defendants

          19.     Defendant GLENN ARCARO is an individual domiciled in Moorpark, California and

  is sui juris. According to paperwork filed with the corporate registry office in the United Kingdom,

  GLENN ARCARO is an active Director of BITCONNECT INTERNATIONAL PLC. GLENN

  ARCARO not only served BITCONNECT by managing a team of U.S.-based affiliates/recruiters; he

  also served as one of the most successful affiliate/recruiters for BITCONNECT himself, soliciting

  hundreds if not thousands of BITCONNECT investors in the United States and abroad through

  social media sites such as YouTube and Facebook.

          20.     Defendant TREVON BROWN a/k/a TREVON JAMES (“TREVON JAMES”) is

  an individual domiciled believed to be domiciled in the United States and is sui juris. TREVON

  JAMES served as an affiliate/recruiter for BITCONNECT, soliciting hundreds if not thousands of

  BITCONNECT investors in the United States and abroad through social media sites such as YouTube

  and Facebook.

          21.     Defendant RYAN HILDRETH is an individual domiciled in Laguna Nigel, California

  and is sui juris. RYAN HILDRETH served as an affiliate/recruiter for BITCONNECT, soliciting

  hundreds if not thousands of BITCONNECT investors in the United States and abroad through

  social media sites such as YouTube and Facebook.

          22.     Defendant CRAIG GRANT is an individual believed to be domiciled in the United

  States and is sui juris. CRAIG GRANT served as an affiliate/recruiter for BITCONNECT, soliciting

  hundreds if not thousands of BITCONNECT investors in the United States and abroad through

  social media sites such as YouTube and Facebook.

          23.     Defendant JOHN DOE NO. 1 a/k/a CRYPTONICK is an individual believed to be

  domiciled in the United States and is sui juris. His true name is unknown at this time, as is the state of

  his domicile. CRYPTONICK served as an affiliate/recruiter for BITCONNECT, soliciting hundreds

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  if not thousands of BITCONNECT investors in the United States and abroad through social media

  sites such as YouTube and Facebook.

          24.     JOHN DOE NOS. 2-10 are individuals located in the United States and abroad who

  served as affiliates/recruiters for BITCONNECT, soliciting hundreds if not thousands of

  BITCONNECT investors in the United States and abroad through social media sites such as YouTube

  and Facebook.

                                        Other Liable Persons/Entities

          25.     In addition to those persons and entities set forth as Defendants herein, there are likely

  other parties who may well be liable to Plaintiffs, but respecting whom Plaintiffs currently lack specific

  facts to permit them to name such person or persons as a party defendant. By not naming such

  persons or entities at this time, Plaintiffs are not waiving their right to amend this pleading to add such

  parties, should the facts warrant adding such parties.

                                          JURISDICTION AND VENUE

                                          Subject Matter Jurisdiction

          26.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

  § 1332, as amended by the Class Action Fairness Act of 2005, because the matter in controversy

  exceeds Five Million Dollars ($5,000,000.00), exclusive of interest and costs, and is a class action in

  which some members of the Class are citizens of different states than Defendants. See, 28 U.S.C.

  § 1332(a) and 1332(d)(2)(A). This Court also has supplemental jurisdiction over the state law claims

  pursuant to 28 U.S.C. § 1367.

                                              Personal Jurisdiction

          27.     This Court has personal jurisdiction over Defendants because: (a) at least one

  Defendant is operating, present, and/or doing business within this District, and (b) Defendants’

  breaches and unlawful activity occurred within this District.

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          28.     Defendants solicited investors in this jurisdiction, including Plaintiffs WILDES and

  DORIA, to invest funds and assets with BITCONNECT -- reaping from those investors large sums

  of money and other assets, including valuable cryptocurrency.

          29.     In light of the foregoing, Defendants purposefully availed themselves of the benefits

  of operating in this jurisdiction; and this Court may exercise personal jurisdiction over Defendants.

                                                         Venue

          30.     Venue is proper pursuant to 28 U.S.C. § 1391 in that a substantial part of the events

  or omissions giving rise to the claims set forth herein occurred in this judicial district, as several of the

  BITCONNECT investors reside in Florida.

          31.     In light of the foregoing, this District is a proper venue in which to adjudicate this dispute.

                          FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

                                          THE BITCONNECT BUSINESS

          32.     BITCONNECT               INTERNATIONAL                 PLC;       BITCONNECT           LTD.;   and

  BITCONNECT TRADING LTD. (collectively “BITCONNECT”) are all parts of the same foreign

  technology organization that conducted its business on the internet, principally by means of a website

  accessible at www.bitconnect.co.

          33.     BITCONNECT described itself as “an open source all-in-one bitcoin and crypto

  community platform designed to provide multiple investment opportunities with cryptocurrency

  education where it is entirely possible to find the independence we all desire, in a community of like-

  minded, freedom-loving individuals who, like you, are seeking the possibility of income stability in a

  very unstable world.”




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          34.      When BITCONNECT referred to “all-in-one bitcoin and crypto community

  platform,” it was referring to the ability to trade and profit from cryptocurrencies 1, including bitcoin,

  and to gain access to Initial Coin Offerings (“ICOs”). 2

          35.      BITCONNECT created its own digital token called BitConnect Coin (BCC).

          36.      BITCONNECT described BitConnect Coin as an open source, peer-to-peer,

  community-driven decentralized cryptocurrency that allows owners to store and invest their wealth.

          37.      BITCONNECT claimed on its website that investors could “begin staking or holding

  BitConnect Coin and watch [their] interest grow” and that “the more [investors] hold, the more [they] earn.”

          38.      BITCONNECT further represented on its website that:

                   (a) BitConnect Coin was “the investment tool [investors] need to jump start
                       [their] financial security”;

                   (b) Investors could “[s]ecure [their] future by gaining quick profit growth for
                       tomorrow that is practical and attainable”;

                   (c) The investment ensures “financial freedom is available and [investors] can
                       start today. Store and invest wealth and earn substantial interest and
                       investment”; and

                   (d) Investors who purchased BitConnect Coin were purchasing “an interest-
                       bearing asset with 120% return per year. It is that simple.”




  1
    Cryptocurrencies are digital assets created by companies or individuals that take the form of a virtual
  coin or token. Bitcoin is an example of one such cryptocurrency, and there are more than one
  thousand other virtual coins or tokens currently in existence. Virtual coins and tokens are primarily
  issued and distributed on a “blockchain” -- a cryptographically-secured ledger which exists on the
  internet. Virtual coins and tokens are traded on online platforms, typically called cryptocurrency
  exchanges, and they can be traded for other digital assets or fiat currencies, such as the U.S. Dollar or Euro.
  2
   An ICO is an offering to the public by a company or an individual for the sale of its/his/her newly-
  created digital asset, virtual coin, or token. The company or individual conducting the ICO sells the
  cryptocurrency to investors using the internet in exchange for something of value, which can be other
  digital assets or fiat currencies, such as the U.S. Dollar or Euro. Companies and individuals ostensibly
  use ICOs to raise capital to fund technology projects without the challenges posed by traditional
  fundraising restrictions.
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           39.      BITCONNECT purported to offer investment opportunities that allow individuals to

   profit from: (1) BITCONNECT’s trading of digital tokens through a proprietary, secret automated

   trading system it called its “volatility software,” (2) its digital token (the BitConnect Coin), and (3) its

   referral program.

                                           BITCONNECT INVESTMENTS

           40.      BITCONNECT offered investments (the “BitConnect Investments”) to the general

   public, including the residents of Florida.

           41.      The BitConnect Investments, as described below, are the BitConnect Lending

   Program and the BitConnect Staking Program.

                                          BitConnect Lending Program

           42.      BITCONNECT offered and sold to the public an investment it called the “BitConnect

   Lending Program.”

           43.      BITCONNECT represented that its investors in the program would earn up to forty

   percent (40%) interest per month over a specified term and an additional rate of interest calculated on

   a daily basis.

           44.      BITCONNECT indicated that the interest was earned through the profits generated

   by its proprietary, secret trading system (the “volatility software”).

           45.      BITCONNECT published statements on its website and elsewhere that suggested that

   investors were guaranteed the return of their principal investment in as soon as one-hundred twenty

   (120) days.

           46.      To take part in the BitConnect Lending Program, investors first had to purchase

   bitcoin with their fiat currency, such as the U.S. Dollar or Euro. BITCONNECT then directed

   investors to deposit their bitcoin into the BitConnect BCC Exchange platform. Once deposited,

   BITCONNECT instructed each investor to sell his/her/its bitcoin to BITCONNECT in exchange

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   for its own digital token (the BitConnect Coin). Investors then “loaned” their BitConnect Coins back

   to BITCONNECT; and BITCONNECT claimed to use the BitConnect Coins that it borrowed from

   investors to fund the trading activities of the proprietary, secret “volatility software” trading system.

           47.     BITCONNECT published the following graphic to demonstrate how the BitConnect

   Lending Program operated:




           48.     BITCONNECT touted the investment as a “safe way to earn a high rate of return on

   . . . investment[s] without having to undergo a significant amount of risk.”

           49.     BITCONNECT provided a chart to give the impression that the returns from the

   BitConnect Lending Program are guaranteed and that each investor would receive back his/her/its

   principal capital invested within a set period of time, to wit:




                                           BitConnect Staking Program

           50.     BITCONNECT also offered and sold to the general public an investment it called the

   “BitConnect Staking Program.”
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          51.     BITCONNECT represented that investors in this program would earn interest of up

   to ten percent (10%) per month over a specified term.

          52.     BITCONNECT indicated the interest was earned through “Proof of Stake Minting.”

          53.     BITCONNECT represented that “Proof of Stake Minting” was a process in which

   rewards are distributed to those “helping maintain the security of the network via proof of holding.”

          54.     In the BitConnect Staking Program, investors first had to purchase bitcoin with their

   fiat currency, such as the U.S. Dollar or Euro. BITCONNECT then directed investors to deposit

   their bitcoin into the BitConnect BCC Exchange platform.                     Once deposited, BITCONNECT

   instructed each investor to sell his/her/its bitcoin to BITCONNECT in exchange for its own self-

   created digital token (the BitConnect Coin). Investors then had to download and install on their

   computers the BitConnect-QT wallet software and hold the BitConnect Coins in the BitConnect-QT

   wallet for more than fifteen (15) days. The funds that BITCONNECT paid to investors were

   purportedly based on the number of BitConnect Coins, or “stake,” each investor held in the

   BitConnect-QT wallet installed on the investor’s computer.

          55.     BITCONNECT published the following graphic to demonstrate how the BitConnect

   Staking Program operated:




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           56.     The amount of interest paid to investors was purportedly contingent upon the dates

   of the investors’ investments.

           57.     BITCONNECT even provided a chart to demonstrate the purported guaranteed rate

   of return from the BitConnect Staking Program, to wit:




           58.     Notwithstanding the foregoing, BITCONNECT never registered any offerings of

   securities, or filed either claims for exemption from securities registration or notice filings with respect

   to securities covered under either state or federal law, as they were required to do.

                           THE BITCONNECT INVESTMENTS ARE SECURITIES

           59.     The BITCONNECT investors invested in a common enterprise and with an

   expectation that the increased value of their BitConnect Investments would produce a substantial

   return on their investment that would be derived solely from the efforts of others -- namely,

   Defendants.

           60.     In short, the thing for which Plaintiffs and each Class Member invested his/her/its

   valuable assets looks like a security, functions like a security, and fits the definition of a security.

   Securities regulators look beyond the form or label someone appends to his/her/its activity and

   instead consider the actual substance and purpose of the activity.




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                 BitConnect Investors Invested Their Funds in a Common Enterprise

           61.     As noted above, BITCONNECT investors deposited their bitcoin into the

   BitConnect BCC Exchange platform -- a common pool of funds that commingled each investor’s

   investment.

           62.     Moreover, the BitConnect Staking Program, for example, required BITCONNECT

   investors to maintain their investments in a common pool for a minimum period of time so that the

   community of interests could produce the purported investment returns promised.

                           BitConnect Investors Had an Expectation of Profit

           63.     BITCONNECT investors viewed the BitConnect Investments as opportunities for profit.

           64.     In addition to the representations set forth above, BITCONNECT made the

   following statements on its website:

                   (a) “You can invest BitConnect coin in BitConnect lending platform
                       exclusively from the BitConnect Dashboard. This investment option
                       involves profiting from BitConnect trading bot and volatility software.
                       You will receive daily profit based on your investment options”;

                   (b) “Upon investment term completion, you will receive your CAPITAL
                       BACK to take out from the BitConnect lending platform or optionally
                       reinvest back in lending platform to continue receiving daily profit”; and

                   (c) “It takes 15 days to mature your coin from last received interest block.
                       Once you receive interest block in your staking wallet, you are required to
                       wait for another 15 days to find next interest block.”

           65.     BITCONNECT provided a Daily Interest Chart on its website that showed the daily

   interest that it purported to have paid to its investors in the three months prior to that date.

           66.     Prior to January 17, 2018, that chart showed no days of negative returns.

           67.     For example, a snapshot of the chart from January 4, 2018 appeared to show an

   average daily interest rate of about one percent (1%), to wit:




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           68.     An average daily interest rate of about one percent (1%) compounds to an annual

   return of over three thousand percent (3,000%).

           69.     Annual compounded investment returns of over three thousand percent (3,000%) are

   extremely unusual in financial markets.

           70.     Guaranteed annual compounded investment returns of over three thousand percent

   (3,000%) are a known “red flag” for fraud, specifically for the risk that the investment might be a

   Ponzi scheme.

                                  BitConnect Investors Expected That
                               They Would Profit from BitConnect’s Efforts

           71.     BITCONNECT investors expected to profit from the efforts of BITCONNECT and

   its agents.

           72.     BITCONNECT investors believed, based on representations of fact made by

   BITCONNECT in its promotional materials, that investors could profit by merely holding and staking

   BitConnect Coins, or by enjoying the guaranteed returns provided by BITCONNECT’s proprietary,

   secret trading system (the “volatility software”).




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           73.     Further, investors expected that BITCONNECT and its agents would expend

   significant efforts to continue to develop the “volatility software” and that such development would

   increase the value of the investors’ BitConnect Coins.

           74.     BITCONNECT stated that “Investing on BitConnect platform . . . is a safe way to

   earn a high rate of return on your investment without having to undergo a significant amount of risk.”

           75.     BITCONNECT also claimed to investors that “The interest rate that we can guarantee

   on your investment while using our investment platform is calculated by our BitConnect Price

   Volatility Software and accrued daily.”

           76.     Based on the statements listed above, investors expected that they would profit solely

   from the essential managerial efforts of BITCONNECT.

                  BITCONNECT OFFERED INVESTMENTS TO THE GENERAL PUBLIC

           77.     BITCONNECT offered its investments to the general public, including residents of

   Florida, through its websites and its sales people, which it calls “affiliates.” BITCONNECT’s

   conducted related to the offers and sales of the investments to the general public is willful.

                                            The BitConnect Websites

           78.     BITCONNECT maintains a website accessible at http://bitconnect.co and a website

   accessible at http://bitconnectcoin.co (the “BitConnect Websites”). The BitConnect Websites are

   accessible worldwide to the general public, including residents of Florida.

           79.     The BITCONNECT Investments were available for purchase by individuals in the

   United States and worldwide through the BitConnect Websites and affiliated websites rendered in

   foreign languages. The investments were promoted on social media pages including, but not limited

   to, Facebook, YouTube, Reddit, Instagram, and Craigslist.

           80.     BITCONNECT promoted its investments on the BitConnect Websites by making the

   following representations:

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                  (a) “There are multiple ways to invest in the BitConnect platform with
                      different level of earning opportunity associated”;

                  (b) “You can invest BitConnect Coin in BitConnect lending platform
                      exclusively from the BitConnect Dashboard. This investment option
                      involved profiting from BitConnect trading bot and volatility software.
                      You will receive daily profit based on your investment option. Upon
                      investment term completion, you will receive your capital back to take out
                      from the BitConnect lending platform or optionally reinvest back in
                      lending platform to continue receiving daily profit”; and

                  (c) “Invest your wealth in community-driven decentralized cryptocurrency.
                      Using BitConnect public exchanges, you can buy, sell and trade
                      BitConnect Coin (BCC) directly to and from each other with no central
                      organization involved.”

                                        THE BITCONNECT AFFILIATES

          81.     BITCONNECT used sales agents, which it refers to as “affiliates,” to direct investors

   to the BitConnect Websites for the purpose of purchasing BitConnect Investments. In return for

   funneling additional investors to BITCONNECT, the affiliates were paid sizeable commissions, as

   explained below.

          82.     The team of BITCONNECT affiliates/recruiters in the United States were managed,

   coached, and supported by Defendant GLENN ARCARO, a BITCONNECT Director and

   shareholder.

          83.     Upon information and belief, Defendant GLENN ARCARO instructed his team at

   meetings, organized sales presentations, and assisted with marketing pitches and materials for the

   BITCONNECT affiliates to sharpen their recruiting techniques and lure in BITCONNECT investors.

          84.     Defendant GLENN ARCARO is also believed to have created and orchestrated an

   online training program -- commonly referred to as “BCC School” -- that purported to teach people

   how to buy bitcoin and how to take advantage of investment opportunities like those being offered

   by BITCONNECT. To “attend” BCC School, an interested person had to have a “sponsor.”

   GLENN ARCARO and his team of affiliates served as those sponsors.


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          85.     In essence, though, the BCC School was little more than a conduit to get BCC School

   “graduates” to open up accounts at BITCONNECT, for which GLENN ARCARO and his team of

   affiliates reaped from BITCONNECT the riches of each client referral.

          86.     Defendants GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG

   GRANT, and CRYPTONICK were among the more prominent BITCONNECT affiliates who

   recruited unsuspecting investors in the United States and abroad to purchase BitConnect Investments.

          87.     Defendants JOHN DOE NOS. 2-10 also served as affiliates/recruiters for

   BITCONNECT, soliciting hundreds if not thousands of BITCONNECT investors in the United

   States and abroad through social media sites such as YouTube and Facebook.

          88.     BITCONNECT encouraged affiliates to promote BitConnect Investments through

   social media, blogs, videos, websites, and newsletters by means of a referral, or commission, program.

          89.     BITCONNECT created marketing materials which were used by its affiliates,

   including music videos, cartoons, and online presentations that describe BitConnect Coins, the

   BitConnect Lending Program, and the BitConnect Staking Program.

          90.     BITCONNECT also provided affiliates with online advertisements, often referred to

   as “banners,” that were incorporated into websites and used to solicit investments in the BitConnect

   Staking Program and the BitConnect Lending Program.

          91.     Affiliates also used unique hyperlinks referred to as “referral links” to offer the

   BitConnect Investments on their personal social media pages.

          92.     Investors used the referral links to access the BitConnect Websites and purchase

   BitConnect Investments. The referral links ensured the affiliate was credited with the appropriate

   commission according to the BitConnect Referral Program.

          93.     In the BitConnect Referral Program, BITCONNECT paid commissions to affiliates

   who used referral links to offer and sell BitConnect Investments. The value of the commissions were

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   based on the affiliate’s placement in a multi-level matrix of other affiliates, and it ranged from two

   percent (2%) to five percent (5%) of the amount invested. These commissions were paid to affiliates

   in bitcoin. The commission matrix was changed by BITCONNECT in November 2017.

          94.     BITCONNECT provided charts to demonstrate the commissions paid to affiliates in

   the BitConnect Referral Program. The commission matrices used by BITCONNECT prior to and

   after November 2017 are shown below:




          95.     BITCONNECT affiliates used online solicitations containing referral links to offer

   BitConnect Investments to residents of Florida, residents of many other states in the United States,

   and residents of numerous countries worldwide.

          96.     BITCONNECT promoted its referral program by representing that:

                  (a) “BitConnect offering [sic.] a lucrative bonus program which enables you to
                      earn affiliate commission if your referral invest in BitConnect lending”;

                  (b) “At the same time, generate a serious income for yourself through our
                      bitcoin affiliate program. You can start earning your free bitcoins today
                      for every person you refer and who starts lending on BitConnect
                      platform”;

                  (c) “As a means to spread the word, help grow our community, and offer you
                      a great way to earn free Bitcoins, we are now offering a lucrative bonus
                      program which enables you to earn bitcoin for every new user who signs
                      up and lends BitConnect Coin (BCC) to our lending platform using your
                      affiliate link”;

                  (d) “BitConnect’s referral program is designed to provide 3 Levels of earning
                      potential to you based on the number of lenders. You will earn a
                      commission every time your referral lends BitConnect Coin (BCC) on our
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                      platform. Invite your friends and family to join BitConnect via your
                      unique referral link to start earning a serous income from our bitcoin
                      affiliate program”; and

                  (e) “Spread the word on social media and other online platforms to help
                      making [sic.] BitConnect platform a success for the entire community of
                      lenders.”

       BITCONNECT OMITTED AND MISREPRESENTED MATERIAL FACTS IN ITS MARKETING

          97.     BITCONNECT willfully failed to disclose and misrepresented material facts when

   offering the BitConnect Investments, including, but not limited to, the following:

                  (a) The identity of the principals of BITCONNECT and the true location of
                      BITCONNECT’s operations and management;

                  (b) Information about the assets and liabilities of BITCONNECT and any
                      other information that indicates the means by which BITCONNECT will
                      provide investors with a guaranteed daily return, regardless of the value of
                      bitcoin;

                  (c) Information about the proprietary, secret trading system (the “volatility
                      software”), details of its trading records and historical performance, proof
                      of its existence, and the risk factors associated with its use;

                  (d) That the BitConnect Investments are securities and are not registered with
                      any government regulator, as required by state and federal law;

                  (e) That only registered dealers or agents can be paid commissions for
                      referrals or sales of securities; and

                  (f) That BITCONNECT affiliates who receive such commissions for their
                      sale of BitConnect Investments without being properly registered are
                      doing so in violation of state and federal securities laws.

                  THE BITCONNECT INVESTMENTS WERE A PONZI SCHEME

          98.     Contrary to the allegations of fantastic investment returns through the power of its

   proprietary, secret trading volatility software and the communal power of the BitConnect Staking

   Program, BITCONNECT was actually operating a Ponzi scheme.

          99.     Any investment returns provided to BITCONNECT investors were not legitimately

   generated; rather, BITCONNECT simply used new BITCONNECT investors’ money to pay the

   promised returns on outstanding BITCONNECT investors’ investments.
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           100.    In addition, BITCONNECT used new BITCONNECT investors’ funds to pay the

   BITCONNECT affiliates -- including, but not limited to, Defendants GLENN ARCARO, TREVON

   JAMES, RYAN HILDRETH, CRAIG GRANT, and CRYPTONICK -- commissions for their role

   in bringing additional victims into the scheme.

                  BITCONNECT’S OFFERINGS VIOLATE NUMEROUS SECURITIES LAWS

           101.    Moreover, BITCONNECT and its affiliates engaged in the offer and sale of

   unregistered securities.

           102.    By soliciting the investing public in the manner they have, BITCONNECT and its

   affiliates -- led in the United States by Defendant GLENN ARCARO -- have imposed significant

   danger to the public welfare because:

                   (a) The securities offered (the BitConnect Investments) have not been
                       registered with any state or federal securities regulator, as required by state
                       and federal securities laws. Proper registration of securities is an essential
                       safeguard service to require companies to provide accurate and material
                       information to enable people to make reasoned investment decisions and
                       to protect the public from fraud;

                   (b) BITCONNECT has not registered as a dealer in, or salesman of, securities.
                       Registering as a dealer or salesman, as required by numerous state and
                       federal securities laws, ensures that people transacting business as
                       securities dealers and salesmen are competent, honest, properly regulated
                       and are authorized to do so;

                   (c) The current speculative activity associated with cryptocurrencies makes
                       investors particularly susceptible to investing without performing their
                       normal due diligence. Further, most cryptocurrency exchanges are
                       unregulated markets and therefore are vulnerable for manipulative trading,
                       fraud, and deception;

                   (d) BITCONNECT has omitted material facts in its offerings and has made
                       misrepresentations of fact which make the BitConnect Investments
                       particularly dangerous for the investing public. Further, BITCONNECT
                       is encouraging members of the investing public to become its affiliates and
                       therefore to act as unregistered dealers and salesmen in violation of state
                       and federal securities laws; and

                   (e) BITCONNECT’s marketing materials are disproportionately targeted
                       towards children, young adults, people of limited financial means, and

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                        unsophisticated investors who may not be able to sustain a complete loss
                        of their investment without enduring significant financial hardship.

           103.    On January 4, 2018, the Texas State Securities Board issued to BITCONNECT an

   Emergency Cease and Desist Order in which the Securities Commissioner of the State of Texas

   presented his office’s conclusion that, inter alia:

                   (a) the BitConnect Investments are securities;

                   (b) BITCONNECT had violated numerous securities regulations by offering
                       the BitConnect Investments for sale in Texas;

                   (c) BITCONNECT had engaged in fraud and made materially misleading
                       statements about the BitConnect Investments that were likely to deceive
                       the public; and

                   (d) BITCONNECT’s conduct, acts, and practices threaten an immediate and
                       irreparable public harm.

           104.    Likewise, on January 12, 2018, the State of North Carolina’s Department of the

   Secretary of State - Securities Division issued to BITCONNECT a Temporary Cease and Desist Order

   in which the State presented its conclusion that the BitConnect Investments were unregistered

   securities being offered to the residents of the State and that those investments posed an immediate

   and irreparable harm to the residents of North Carolina.

                            BITCONNECT ABRUPTLY CLOSED ITS OPERATIONS

           105.    On the morning of January 17, 2018 -- amidst increased scrutiny from government

   regulators and watchful cryptocurrency industry experts -- BITCONNECT abruptly closed its

   cryptocurrency lending and exchange platform.

           106.    According to a release on BITCONNECT’s website, the company blamed the

   shutdown on “continued bad press” surrounding the platform, the two “Cease and Desist” letters

   from securities regulators in Texas and North Carolina, and multiple DDoS attacks on the website.

           107.    Within moments of BITCONNECT’s notice, the price of BitConnect Coin plummeted

   nearly ninety percent (90%) in value; and the token is believed to be effectively useless now.

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           108.    As a result of Defendants’ fraudulent and misleading activities -- as well as their

   violation of multiple securities laws -- Plaintiffs and the Class have suffered damages believed to be

   greater than $2 billion.

                              FACTS SPECIFIC TO INVESTOR PLAINTIFFS

                                                   Charles Wildes

           109.    Beginning on or about December 14, 2017, Plaintiff WILDES funded his

   BITCONNECT account.

           110.    To make his investments with BITCONNECT, Plaintiff WILDES logged onto to

   BITCONNECT’s website from his home and followed the instructions provided.

           111.    On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

   Plaintiff WILDES’s holdings at BITCONNECT were believed to be valued at approximately

   $11,500.00.

                                                  Francisco Doria

           112.    Beginning on or about June 17, 2017, Plaintiff DORIA funded his BITCONNECT

   account.

           113.    To make his investments with BITCONNECT, Plaintiff DORIA logged onto to

   BITCONNECT’s website from his home and followed the instructions provided.

           114.    On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

   Plaintiff DORIA’s holdings at BITCONNECT were believed to be valued at approximately

   $141,500.00.

                                                     Aric Harold

           115.    Beginning on or about November 23, 2017, Plaintiff HAROLD funded his

   BITCONNECT account.




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          116.    To make his investments with BITCONNECT, Plaintiff HAROLD logged onto to

   BITCONNECT’s website from his home and followed the instructions provided.

          117.    On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

   Plaintiff HAROLD’s holdings at BITCONNECT were believed to be valued at approximately

   $128,000.00.

                                                    Akiva Katz

          118.    Beginning on or about January 2, 2018, Plaintiff KATZ funded his BITCONNECT

   account.

          119.    To make his investments with BITCONNECT, Plaintiff KATZ logged onto to

   BITCONNECT’s website from his home and followed the instructions provided.

          120.    On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

   Plaintiff KATZ’s holdings at BITCONNECT were believed to be valued at approximately

   $200,000.00.

                                                   James Gurry

          121.    Beginning on or about October 17, 2017, Plaintiff GURRY funded his

   BITCONNECT account.

          122.    To make his investments with BITCONNECT, Plaintiff GURRY logged onto to

   BITCONNECT’s website from his home and followed the instructions provided.

          123.    On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

   Plaintiff GURRY’s holdings at BITCONNECT were believed to be valued at approximately

   $150,000.00.

                                                 Ronald Nelson

          124.    Beginning on or about October 24, 2017, Plaintiff NELSON funded his

   BITCONNECT account.

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           125.    To make his investments with BITCONNECT, Plaintiff NELSON logged onto to

   BITCONNECT’s website from his home and followed the instructions provided.

           126.    On January 17, 2018, when BITCONNECT closed its lending and trading platforms,

   Plaintiff NELSON’s holdings at BITCONNECT were believed to be valued at approximately

   $140,000.00.

                                      CLASS ACTION ALLEGATIONS

           127.    A class action is the proper form to bring Plaintiffs’ and the Class Members’ claims

   under FRCP 23. The potential class is so large that joinder of all members would be impractical.

   Additionally, there are questions of law or fact common to the class, the claims or defenses of the

   representative parties are typical of the claims or defenses of the class, and the representative parties

   will fairly and adequately protect the interests of the class.

           128.    Plaintiffs bring this nationwide class action pursuant to Rule 23 of the Federal Rules

   of Civil Procedure on behalf of themselves and all members of the following class and subclass:

                   NATIONWIDE CLASS: All BITCONNECT investors and account
                     holders who, between November 15, 2016 and January 17, 2018,
                     transferred bitcoins, alternative cryptocurrencies, or any other form
                     of monies or currency to BITCONNECT in furtherance of
                     BITCONNECT’s investments. Excluded from the class are:
                     Defendants themselves, Defendants’ retail employees, Defendants’
                     corporate officers, members of Defendants’ boards of directors,
                     Defendants’ senior executives, Defendants’ affiliates, and any and all
                     judicial officers (and their staff) assigned to hear or adjudicate any
                     aspect of this litigation.
                         The Nationwide Class asserts claims for Unregistered Offer and
                       Sale of Securities in Violation of Sections 5(a) and 5(c) of the
                       Securities Act; Fraud in the Offer and Sale of Securities in Violation
                       of Section 17(a)(1) of the Securities Act; Fraud in the Offer and Sale
                       of Securities in Violation of Section 17(a)(2) and 17(a)(3) of the
                       Securities Act; Rescission of Contract; Fraudulent Inducement;
                       Fraudulent Misrepresentation; Negligent Misrepresentation;
                       Conversion; and Civil Conspiracy (see Counts I – IV and VIII-XII).




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                  FLORIDA SUBCLASS: All Florida resident BITCONNECT investors
                    and account holders who, between November 15, 2016 and
                    January 17, 2018, transferred bitcoins, alternative cryptocurrencies, or
                    any other form of monies or currency to BITCONNECT in
                    furtherance of BITCONNECT’s investments. Excluded from the
                    class are: Defendants themselves, Defendants’ retail employees,
                    Defendants’ corporate officers, members of Defendants’ boards of
                    directors, Defendants’ senior executives, Defendants’ affiliates, and
                    any and all judicial officers (and their staff) assigned to hear or
                    adjudicate any aspect of this litigation.
                          In addition to the claims asserted by the Nationwide Class, the
                        Florida Subclass asserts claims for Unregistered Offer and Sale of
                        Securities in Violation of Fla. Stat. §§ 517.011, et seq .; Fraud in the
                        Offer and Sale of Securities in Violation of Fla. Stat. §§ 517.011, et seq .;
                        and Violation of Florida’s Deceptive and Unfair Trade Practices Act,
                        Chapter 501, § 211(1), Fla. Stat. (“FDUTPA”) (see Counts V - VII).

          129.    This action satisfies all of the requirements of Federal Rules of Civil Procedure,

   including numerosity, commonality, predominance, typicality, adequacy, and superiority.

                                                       Numerosity

          130.    Members of the Class are so numerous and geographically dispersed that joinder of all

   members is impractical.

          131.    While the exact number of class members remains unknown at this time, upon

   information and belief, there are at least hundreds if not thousands of putative Class members.

          132.    Again, while the exact number is not known at this time, it is easily and generally

   ascertainable by appropriate discovery.

          133.    It is impractical for each class member to bring suit individually.

          134.    Plaintiffs do not anticipate any difficulties in managing this action as a class action.

                                         Commonality and Predominance

          135.    There are many common questions of law and fact involving and affecting the parties

   to be represented.




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          136.    When determining whether common questions predominate, courts focus on the issue

   of liability; and if the issue of liability is common to the class and can be determined on a class-wide

   basis, as in the instant matter, common questions will be held to predominate over individual

   questions.

          137.    Common questions include, but are not limited to, the following:

                  (a) Whether the BitConnect Coins sold by BITCONNECT constitute
                      securities under federal and state securities laws;

                  (b) Whether BITCONNECT violated federal and state securities laws in
                      selling its BitConnect Coins and in failing to register them as securities;

                  (c) Whether statements made by Defendants about the BitConnect
                      Investments were false;

                  (d) Whether Defendants have converted the funds belonging to Plaintiffs and
                      the Class Members;

                  (e) Whether BITCONNECT owed duties to Plaintiffs and the Class
                      Members, what the scope of those duties were, and whether
                      BITCONNECT breached those duties;

                  (f) Whether BITCONNECT’s conduct was unfair or unlawful;

                  (g) Whether the terms of use for BITCONNECT’s services are
                      unconscionable, void, or voidable;

                  (h) Whether Defendants has been unjustly enriched; and

                  (i) Whether Plaintiffs and the Class Members have sustained damages as a
                      result of Defendants’ conduct.

          138.    These common questions of law or fact predominate over any questions affecting only

   individual members of the Class.

                                                       Typicality

          139.    Plaintiffs’ claims are typical of those of the other Class Members because, inter alia, all

   members of the Class were injured through the common misconduct described above and were

   subject to Defendants’ unfair and unlawful conduct.


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              140.   Plaintiffs are advancing the same claims and legal theories on behalf of themselves and

   all members of the Class.

                                            Adequacy of Representation

              141.   Plaintiffs will fairly and adequately represent and protect the interests of the Class

   Members in that they have no disabling conflicts of interest that would be antagonistic to those of the

   other members of the Class.

              142.   Plaintiffs are committed to the vigorous prosecution of this action and have retained

   competent counsel, experienced in complex consumer class action litigation of this nature, to

   represent them.

              143.   Plaintiffs seek no relief that is antagonistic or adverse to the members of the Class.

              144.   The infringement of the rights and the damages Plaintiffs have suffered are typical of

   other Class members.

              145.   To prosecute this case, Plaintiffs have chosen the law firm of Silver Miller. Silver

   Miller is experienced in class action litigation and has the financial and legal resources to meet the

   substantial costs and legal issues associated with this type of litigation.

                                                        Superiority

              146.   Class action litigation is an appropriate method for fair and efficient adjudication of

   the claims involved herein.

              147.   Class action treatment is superior to all other available methods for the fair and

   efficient adjudication of the controversy alleged herein; as it will permit a large number of Class

   Members to prosecute their common claims in a single forum simultaneously, efficiently, and without

   the unnecessary duplication of evidence, effort, and expense that hundreds of individual actions would

   require.



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           148.    Class action treatment will permit the adjudication of relatively modest claims by

   certain Class Members, who could not individually afford to litigate a complex claim against a well-

   funded corporate defendant like BITCONNECT.

           149.    Further, even for those Class Members who could afford to litigate such a claim, it

   would still be economically impractical.

           150.    The nature of this action and the nature of laws available to Plaintiffs make the use of

   the class action device a particularly efficient and appropriate procedure to afford relief to Plaintiffs

   and the Class Members for the wrongs alleged because:

                   (a) Defendants would necessarily gain an unconscionable advantage if they
                       were allowed to exploit and overwhelm the limited resources of each
                       individual Class member with superior financial and legal resources;

                   (b) The costs of individual suits could unreasonably consume the amounts
                       that would be recovered;

                   (c) Proof of a common course of conduct to which Plaintiffs were exposed is
                       representative of that experienced by the Class and will establish the right
                       of each member of the Class to recover on the cause of action alleged;

                   (d) Individual actions would create a risk of inconsistent results and would be
                       unnecessary and duplicative of this litigation;

                   (e) The Class Members are geographically dispersed all over the world, thus
                       rendering it inconvenient and an extreme hardship to effectuate joinder of
                       their individual claims into one lawsuit;

                   (f) There are no known Class Members who are interested in individually
                       controlling the prosecution of separate actions; and

                   (g) The interests of justice will be well served by resolving the common
                       disputes of potential Class Members in one forum.

           151.    Plaintiffs reserve the right to modify or amend the definition of the proposed class

   and to modify, amend, or create proposed subclasses before the Court determines whether

   certification is appropriate and as the parties engage in discovery.




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           152.    The class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy.

           153.    Because of the number and nature of common questions of fact and law, multiple

   separate lawsuits would not serve the interest of judicial economy.

           154.    As a result of the foregoing, Plaintiffs and the Class Members have been damaged in

   an amount that will be proven at trial.

           155.    Plaintiffs have duly performed all of their duties and obligations, and any conditions

   precedent to Plaintiffs bringing this action have occurred, have been performed, or else have been

   excused or waived.

           156.    To enforce their rights, Plaintiffs have retained undersigned counsel and are obligated

   to pay counsel a reasonable fee for its services, for which Defendants are liable as a result of their bad

   faith and otherwise.

             COUNT I – UNREGISTERED OFFER AND SALE OF SECURITIES
          IN VIOLATION OF SECTIONS 5(a) AND 5(c) OF THE SECURITIES ACT

           Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

           157.    BITCONNECT, by engaging in the conduct described above, directly or indirectly

   made use of means or instruments of transportation or communication in interstate commerce or of

   the mails to offer to sell or to actually sell securities, or to carry or cause such securities to be carried

   through the mails or in interstate commerce for the purpose of sale or for delivery after sale.

           158.    BITCONNECT is a “seller” within the meaning of 15 U.S.C. § 77e because it or its

   agents solicited Plaintiffs’ and the Class Members’ investments in the BitConnect Investments,

   including BitConnect Coins.

           159.    The funds paid by Plaintiffs and the Class Members pursuant to the BitConnect

   Investment protocols were pooled by BITCONNECT in an effort by BITCONNECT to secure a


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   profit for itself and the investors. As a result, the investors, including Plaintiffs and the Class Members,

   shared in the risks and benefits of the investment.

           160.    Plaintiffs and the Class Members relied on, and are dependent upon, the expertise and

   efforts of BITCONNECT for their investment returns.

           161.    Plaintiffs and the Class Members expected that they would receive profits from their

   investments in BITCONNECT’s efforts.

           162.    BitConnect Coins constitute investment contracts and are therefore subject to federal

   securities laws, including the registration requirements promulgated thereunder.

           163.    No registration statements have been filed with the SEC or have been in effect with

   respect to any of the offerings alleged herein.

           164.    By reason of the foregoing, BITCONNECT has violated Sections 5(a) and 5(c) of the

   Securities Act, 15 U.S.C. §§ 77e(a) and 77e(c).

           165.    As a direct and proximate result of BITCONNECT’s unregistered sale of securities,

   Plaintiffs and the Class Members have suffered damages in connection with their respective purchases

   of BitConnect Coin securities in the BitConnect Investments.

           166.    Defendant GLENN ARCARO is subject to liability by virtue of his top-level executive

   position with BITCONNECT and his undeniable influence over the enterprise, which provided him

   the power to control or influence BITCONNECT’s actions. For example, GLENN ARCARO is an

   active Director of BITCONNECT, is one of its only shareholders, and is responsible for much of the

   company’s marketing of the BitConnect Investments to investors, including its operations vis-à-vis

   Plaintiffs and the Class Members. As a top-level executive and controlling person of BITCONNECT,

   GLENN ARCARO knew of, or recklessly disregarded, the alleged misrepresentations made by

   BITCONNECT in connection with the BitConnect Investments.



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           167.     Defendant GLENN ARCARO is a culpable participant in the fraudulent scheme

   described herein and caused BITCONNECT to engage in the acts and omissions which give rise to

   liability under 15 U.S.C. § 77e.

           168.     Accordingly, Defendant GLENN ARCARO is a “controlling person” of

   BITCONNECT within the meaning of Section 15(a) of the Exchange Act, 15 U.S.C. § 77o.

           169.     Plaintiffs and the Class Members have suffered damages as a result of Defendant

   GLENN ARCARO’s violation of Section 15(a) of the Exchange Act, 15 U.S.C. § 77o.

               COUNT II – FRAUD IN THE OFFER AND SALE OF SECURITIES
               IN VIOLATION OF SECTION 17(a)(1) OF THE SECURITIES ACT

           Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

           170.     Defendants are “sellers” within the meaning of 15 U.S.C. § 77l(a) because they or their

   agents solicited Plaintiffs’ and the Class Members’ investments in the BitConnect Investments.

           171.     The terms of the BitConnect Investments called for an investment of cryptocurrency

   or fiat currency by Plaintiffs and the Class Members.

           172.     BitConnect Coins constitute investment contracts and are therefore subject to federal

   securities laws, including the registration requirements promulgated thereunder.

           173.     Defendants, in the offer and sale of BitConnect Coins securities, by the use of the

   means and instruments of transportation and communication in interstate commerce or by use of the

   mails, directly or indirectly, have employed devices, schemes, and artifices to defraud.

           174.     In the offer and sale of the BitConnect Coins securities and as part of their scheme to

   defraud, Defendants made false and misleading statements of material fact and omitted to state

   material facts to investors and prospective investors, as more fully described above.

           175.     Defendants engaged in the conduct alleged herein knowingly or with reckless disregard

   for the truth.


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           176.    As a direct and proximate result of the foregoing, Defendants have each violated

   Sections 17(a)(1) of the Securities Act, 15 U.S.C. §§ 77q(a)(1).

           177.    Defendant GLENN ARCARO is subject to liability by virtue of his top-level executive

   position with BITCONNECT and his undeniable influence over the enterprise, which provided him

   the power to control or influence BITCONNECT’s actions. For example, GLENN ARCARO is an

   active Director of BITCONNECT, is one of its only shareholders, and is responsible for much of the

   company’s marketing of the BitConnect Investments to investors, including its operations vis-à-vis

   Plaintiffs and the Class Members. As a top-level executive and controlling person of BITCONNECT,

   GLENN ARCARO knew of, or recklessly disregarded, the alleged misrepresentations made by

   BITCONNECT in connection with the BitConnect Investments.

           178.    Defendant GLENN ARCARO is a culpable participant in the fraudulent scheme

   described herein and caused BITCONNECT to engage in the acts and omissions which give rise to

   liability under 15 U.S.C. § 77l(a).

           179.    Accordingly, Defendant GLENN ARCARO is a “controlling person” of

   BITCONNECT within the meaning of Section 15(a) of the Exchange Act, 15 U.S.C. § 77o.

           180.    Plaintiffs and the Class Members have suffered damages as a result of Defendant

   GLENN ARCARO’s violation of Section 15(a) of the Exchange Act, 15 U.S.C. § 77o.

            COUNT III – FRAUD IN THE OFFER AND SALE OF SECURITIES
       IN VIOLATION OF SECTION 17(a)(2) AND 17(a)(3) OF THE SECURITIES ACT

           Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

           181.    In the offer and sale of the BitConnect Coin securities, Defendants -- by use of means

   or instruments of transportation or communication in interstate commerce or by use of the mails --

   directly or indirectly: (a) obtained money or property by means of untrue statements of material facts

   or omitted to state material facts necessary to make not misleading the statements made, in light of

   the circumstances under which they were made; or (b) engaged in transactions, practices, or courses
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   of business that operated or would operate as a fraud or deceit upon the purchasers of the BitConnect

   Coins.

            182.    Defendants acted at least negligently with respect to the facts and circumstances

   described above.

            183.    As a direct and proximate result of the foregoing, Defendants have each violated

   Sections 17(a)(2) and 17(a)(3) of the Securities Act, 15 U.S.C. §§ 77q(a)(2) and (3).

            184.    As a direct and proximate result of Defendants’ conduct, Plaintiffs and the Class

   Members have suffered damages in connection with their respective purchases of BitConnect Coins

   securities in the BitConnect Investments.

                              COUNT IV – RESCISSION OF CONTRACT

            Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

            185.    The terms of the BitConnect Investments constitute a contract between: (1) Plaintiffs

   and the Class Members, and (2) Defendants.

            186.    The contract was entered into by and between Defendants and each Class Member

   between November 15, 2016 and January 17, 2018.

            187.    The terms of the BitConnect Investments called for an investment of cryptocurrency

   by Plaintiffs and the Class Members.

            188.    The funds paid by Plaintiffs and the Class Members pursuant to the BitConnect

   Investments were pooled by Defendants in an effort by Defendants to secure a profit for themselves

   and the investors. As a result, the investors, including Plaintiffs and the Class, shared in the risks and

   benefits of the investment.

            189.    Plaintiffs and the Class Members relied on, and are dependent upon, the expertise and

   efforts of Defendants for their investment returns.



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           190.    The terms of the BitConnect Investments constitute an investment contract and is

   therefore subject to federal and state securities laws, including the registration requirements

   promulgated thereunder.

           191.    No registration statement was filed or in effect with any federal or state regulatory

   body, and no exemption from registration exists with respect to the BitConnect Investments.

           192.    As a result of Defendants’ fraud, false representations, and violation of federal and

   state securities laws in connection with the BitConnect Investments, Plaintiffs and the Class Members

   state their demand that the Contract be rescinded and canceled.

           193.    To the extent that Plaintiffs have received from Defendants any benefits through the

   contract -- though none are known to them at this time -- Plaintiffs hereby offers to restore to

   Defendants those benefits, once they are identified and can be quantified.

           194.    As a direct and proximate cause of Defendants’ conduct, Plaintiffs and the Class

   Members have been damaged.

           195.    Defendant BITCONNECT INTERNATIONAL PLC is subject to liability because

   it solicited and otherwise participated in the sale to Plaintiffs and the Class Members of the

   misrepresented and unregistered securities identified herein. Moreover, Defendant BITCONNECT

   INTERNATIONAL PLC is subject to liability because it is believed to control, or have obtained

   control over, a large portion of the assets invested by Plaintiffs and the Class Members which must

   be disgorged and returned to Plaintiffs and the Class Members in effectuating the rescission of the

   contract into which they were unlawfully led.

           196.    Defendant BITCONNECT LTD. is subject to liability because it solicited and

   otherwise participated in the sale to Plaintiffs and the Class Members of the misrepresented and

   unregistered securities identified herein. Moreover, Defendant BITCONNECT LTD. is subject to

   liability because it is believed to control, or have obtained control over, a large portion of the assets

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   invested by Plaintiffs and the Class Members which must be disgorged and returned to Plaintiffs and

   the Class Members in effectuating the rescission of the contract into which they were unlawfully led.

           197.     Defendant BITCONNECT TRADING LTD. is subject to liability because it solicited

   and otherwise participated in the sale to Plaintiffs and the Class Members of the misrepresented and

   unregistered securities identified herein. Moreover, Defendant BITCONNECT TRADING LTD. is

   subject to liability because it is believed to control, or have obtained control over, a large portion of

   the assets invested by Plaintiffs and the Class Members which must be disgorged and returned to

   Plaintiffs and the Class Members in effectuating the rescission of the contract into which they were

   unlawfully led

           198.     Defendant GLENN ARCARO is subject to liability because he solicited and otherwise

   participated in the sale to Plaintiffs and the Class Members of the misrepresented and unregistered

   securities identified herein.

           199.     Defendant TREVON BROWN a/k/a TREVON JAMES is subject to liability

   because he solicited and otherwise participated in the sale to Plaintiffs and the Class Members of the

   misrepresented and unregistered securities identified herein.

           200.     Defendant RYAN HILDRETH is subject to liability because he solicited and

   otherwise participated in the sale to Plaintiffs and the Class Members of the misrepresented and

   unregistered securities identified herein.

           201.     Defendant CRAIG GRANT is subject to liability because he solicited and otherwise

   participated in the sale to Plaintiffs and the Class Members of the misrepresented and unregistered

   securities identified herein.

           202.     Defendant CRYPTONICK is subject to liability because he solicited and otherwise

   participated in the sale to Plaintiffs and the Class Members of the misrepresented and unregistered

   securities identified herein.

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           203.    Defendants JOHN DOE NOS. 2-10 are subject to liability because they solicited and

   otherwise participated in the sale to Plaintiffs and the Class Members of the misrepresented and

   unregistered securities identified herein.

              COUNT V – UNREGISTERED OFFER AND SALE OF SECURITIES
                     IN VIOLATION OF FLA. STAT. §§ 517.011, et seq .

           Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

           204.    The BitConnect Investments called for an investment of money or assets by Plaintiffs

   and the Class Members -- specifically, the bitcoin, Ether, and other assets of value transferred to

   Defendants in exchange for the BitConnect Coins issued by Defendants.

           205.    The funds paid by Plaintiffs and the Class Members were pooled by Defendants in the

   project in an effort by Defendants to secure a profit for themselves and the Plaintiff Class. As a result,

   the Plaintiff Class -- as the investors -- shared in the risks and benefits of the investment scheme.

           206.    Plaintiffs and the Class Members relied upon, and were dependent upon, the expertise

   and efforts of Defendants for their investment returns.

           207.    Plaintiffs and the Class Members expected that they would receive profits from their

   investments in Defendants’ efforts.

           208.    BitConnect Coins constitute investment contracts and are therefore subject to the

   Florida Blue Sky Laws, including the registration requirements of Fla. Stat. § 517.07.

           209.    No registration statements have been filed with the Florida Office of Financial

   Regulation or have been in effect with respect to any of the offerings alleged herein.

           210.    Similarly, no exemption from registration exists with respect to the BitConnect

   Investments.

           211.    By reason of the foregoing, Defendants have violated Fla. Stat. §§ 517.07, et seq.




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             212.   Defendant GLENN ARCARO is subject to liability under Fla. Stat. §§ 517.07 and

   517.211 because he solicited and otherwise personally participated and aided the sale to Plaintiffs and

   the Class Members of the BITCONNECT-issued cryptocurrency at issue herein.

             213.   Defendant TREVON BROWN a/k/a TREVON JAMES is subject to liability under

   Fla. Stat. §§ 517.07 and 517.211 because he solicited and otherwise personally participated and aided

   the sale to Plaintiffs and the Class Members of the BITCONNECT-issued cryptocurrency at issue

   herein.

             214.   Defendant RYAN HILDRETH is subject to liability under Fla. Stat. §§ 517.07 and

   517.211 because he solicited and otherwise personally participated and aided the sale to Plaintiffs and

   the Class Members of the BITCONNECT-issued cryptocurrency at issue herein.

             215.   Defendant CRAIG GRANT is subject to liability under Fla. Stat. §§ 517.07 and

   517.211 because he solicited and otherwise personally participated and aided the sale to Plaintiffs and

   the Class Members of the BITCONNECT-issued cryptocurrency at issue herein.

             216.   Defendant CRYPTONICK is subject to liability under Fla. Stat. §§ 517.07 and 517.211

   because he solicited and otherwise personally participated and aided the sale to Plaintiffs and the Class

   Members of the BITCONNECT-issued cryptocurrency at issue herein.

             217.   Defendants JOHN DOE NOS. 2-10 are subject to liability under Fla. Stat. §§ 517.07

   and 517.211 because they solicited and otherwise personally participated and aided the sale to Plaintiffs

   and the Class Members of the BITCONNECT-issued cryptocurrency at issue herein.

             218.   As a direct and proximate result of Defendants’ unregistered sale of securities,

   Plaintiffs and the Class Members have suffered damages in connection with their respective purchases

   of BitConnect Coin securities in the BitConnect Investments.




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                COUNT VI – FRAUD IN THE OFFER AND SALE OF SECURITIES
                      IN VIOLATION OF FLA. STAT. §§ 517.011, et seq .

             Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

             219.    Fla. Stat. § 517.301 makes it unlawful for anyone, in connection with the rendering of

   any investment advice or in connection with the offer, sale, or purchase of any investment or security:

   (a) to employ any device, scheme, or artifice to defraud; (b) to obtain money or property by means of

   any untrue statement of a material fact or any omission to state a material fact necessary in order to

   make the statements made, in the light of the circumstances under which they were made, not

   misleading; or (c) to engage in any transaction, practice, or course of business which operates or would

   operate as a fraud or deceit upon a person.

             220.    Defendants conducted an unlawful sale of securities as defined in Fla. Stat. §§ 517.011,

   et seq.

             221.    More specifically, in connection with the offer to sell a security or investment to

   Plaintiffs and the Class Members, Defendants:

                     (a) employed a scheme to defraud Plaintiffs and the Class Members;

                     (b) obtained Plaintiffs’ and the Class Members’ invested funds and assets by
                         means of untrue statements of material fact; and

                     (c) engaged in transactions and a course of business which operated as a fraud
                         or deceit upon Plaintiffs and the Class Members.

             222.    As Defendants intended, Plaintiffs and the Class Members justifiably relied upon the

   multiple material misrepresentations Defendants made to Plaintiffs and the Class Members in the

   course of their solicitations in connection with Plaintiffs’ and the Class Members’ investments in the

   BitConnect Investments.

             223.    As a direct and proximate result of Defendants’ violations of Fla. Stat. §§ 517.011, et

   seq., Plaintiffs and the Class Members have suffered damages.



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           224.    Defendants each participated in, or aided in, the unlawful procurement of Plaintiffs’

   and the Class Members’ investments in the BitConnect Investments.

           225.    Plaintiffs and the Class Members are entitled to an award of attorneys’ fees pursuant

   to Fla. Stat. § 517.211.

                          COUNT VII – VIOLATION OF FLORIDA’S
                      DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,
                        CHAPTER 501, § 211(1), FLA. STAT. (“FDUTPA”)

           Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

           226.    Chapter 501, Fla. Stat., Florida’s Deceptive and Unfair Trade Practices Act is to be

   liberally construed to protect the consuming public, such as Plaintiffs and the Class Members in this

   case, from those who engage in unfair methods of competition, or unconscionable, deceptive or unfair

   acts or practices in the conduct of any trade or commerce.

           227.    Plaintiffs and the Class Members are “consumers” within the meaning of Fla. Stat. §

   501.203(7).

           228.    By soliciting investor funds in the manner in which they did, Defendants engaged in

   “trade and commerce” within the meaning of Fla. Stat. §501.203(8).

           229.    While FDUTPA does not define “deceptive” and “unfair,” it incorporates by reference

   the Federal Trade Commission’s interpretations of these terms. The FTC has found that a “deceptive

   act or practice” encompasses “a representation, omission or practice that is likely to mislead the

   consumer acting reasonably in the circumstances, to the consumer’s detriment.”

           230.    The federal courts have defined a “deceptive trade practice” as any act or practice that

   has the tendency or capacity to deceive consumers and have defined an “unfair trade practice” as any

   act or practice that offends public policy and is immoral, unethical, oppressive, unscrupulous, or

   substantially injurious to consumers.



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          231.    Moreover, as the securities laws are designed for consumer protection and “proscribe[ ]

   unfair methods of competition, or unfair, deceptive, or unconscionable acts or practices,” a violation

   of the securities laws is a per se violation of FDUTPA.

          232.    Defendants’ acts and omissions of representing to Plaintiffs and the Class Members

   that, among other things:

                  (a) BITCONNECT utilized a proprietary, secret trading system (the
                      “volatility software”) that helped its investors generate far-greater-than-
                      average returns on their investments;

                  (b) BITCONNECT’s guarantee of a one percent (1%) daily return on
                      investments would continue regardless of market performance or the
                      fluctuating value of bitcoin;

                  (c) Investment returns were legitimately generated and were not simply a
                      reallocation of new BITCONNECT investors’ money used to pay the
                      promised returns on outstanding BITCONNECT investors’ investments
                      in classic Ponzi scheme fashion;

                  (d) The BitConnect Investments complied with all applicable securities laws;
                      and

                  (e) The BitConnect affiliates who were paid commissions for their sale of
                      BitConnect Investments were properly registered to procure those sales

   constitute both deceptive and unfair trade practices because the false representations and omissions

   made by Defendants have a tendency or capacity to deceive consumers, such as Plaintiffs and the

   Class Members, into investing in BITCONNECT’s falsely-touted business and are immoral, unethical,

   oppressive, unscrupulous, or substantially injurious to consumers.

          233.    As a result of Defendants’ deceptive trade practices, Plaintiffs and the Class Members

   were deceived into investing their money with a company that functioned solely as an engine of fraud

   -- thus causing significant economic damage to Plaintiffs and the Class Members.

          234.    The materially false statements and omissions as described above, and the fact that

   this was a misleading investment, were unfair, unconscionable, and deceptive practices perpetrated on



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   Plaintiffs and the Class Members which would have likely deceived a reasonable person under the

   circumstances.

           235.     Defendants were on notice at all relevant times that the false representations of

   material facts described above were being communicated to prospective investors (such as Plaintiffs

   and the Class Members) by their authorized agents.

           236.     As a result of the false representations and violations of the securities laws described

   above, Plaintiffs and the Class Members have been damaged by, among other things losing their

   invested capital.

           237.     Plaintiffs and the Class Members have also been damaged in other and further ways

   subject to proof at trial.

           238.     Therefore, Defendants engaged in unfair and deceptive trade practices in violation of

   Section 501.201 et seq., Fla. Stat.

           239.     Pursuant to Sections 501.211(1) and 501.2105, Fla. Stat., Plaintiffs and the Class

   Members are entitled to recover from Defendants the reasonable amount of attorneys’ fees Plaintiffs

   and the Class Members have had to incur in representing their interests in this matter.

                           COUNT VIII – FRAUDULENT INDUCEMENT

           Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

           240.     Defendants, by acts of both omission and commission, made to Plaintiffs and the

   Class Members false statements of material facts about the services Plaintiffs and the Class Members

   would receive from BITCONNECT upon opening a BITCONNECT account and investing in the

   BitConnect Investments.

           241.     Specifically, Defendants’ representations to Plaintiffs and the Class Members that,

   among other things:



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                  (a) BITCONNECT utilized a proprietary, secret trading system (the
                      “volatility software”) that helped its investors generate far-greater-than-
                      average returns on their investments;

                  (b) BITCONNECT’s guarantee of a one percent (1%) daily return on
                      investments would continue regardless of market performance or the
                      fluctuating value of bitcoin;

                  (c) Investment returns were legitimately generated and were not simply a
                      reallocation of new BITCONNECT investors’ money used to pay the
                      promised returns on outstanding BITCONNECT investors’ investments
                      in classic Ponzi scheme fashion;

                  (d) The BitConnect Investments complied with all applicable securities laws;
                      and

                  (e) The BitConnect affiliates who were paid commissions for their sale of
                      BitConnect Investments were properly registered to procure those sales

   were false, and Defendants knew at the time the statements were made that the statements were false.

          242.    Defendants intended that Plaintiffs and the Class Members would be induced into

   action by relying upon the statements of fact made to them by and on behalf of Defendants.

          243.    In considering whether to open accounts at BITCONNECT, invest in the BitConnect

   Investments, and entrust to BITCONNECT their valuable assets; Plaintiffs and the Class Members

   reasonably and justifiably relied on the statements of fact made to them by and on behalf of

   Defendants.

          244.    As a direct and proximate result of Plaintiffs’ and the Class Members’ reliance on the

   statements made to them by Defendants, Plaintiffs and the Class Members have suffered damage.

                     COUNT IX – FRAUDULENT MISREPRESENTATION

          Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

          245.    Defendants, by acts of both omission and commission, made to Plaintiffs and the

   Class Members false statements of material facts about the services Plaintiffs and the Class Members

   would receive from BITCONNECT upon opening a BITCONNECT account and investing in the



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   BitConnect Investments in exchange for the fees they were compelled to pay to maintain accounts at

   BITCONNECT.

          246.    Specifically, Defendants’ representations to Plaintiffs and the Class Members that,

   among other things:

                  (a) BITCONNECT utilized a proprietary, secret trading system (the
                      “volatility software”) that helped its investors generate far-greater-than-
                      average returns on their investments;

                  (b) BITCONNECT’s guarantee of a one percent (1%) daily return on
                      investments would continue regardless of market performance or the
                      fluctuating value of bitcoin;

                  (c) Investment returns were legitimately generated and were not simply a
                      reallocation of new BITCONNECT investors’ money used to pay the
                      promised returns on outstanding BITCONNECT investors’ investments
                      in classic Ponzi scheme fashion;

                  (d) The BitConnect Investments complied with all applicable securities laws;
                      and

                  (e) The BitConnect affiliates who were paid commissions for their sale of
                      BitConnect Investments were properly registered to procure those sales

   were false, and Defendants knew at the time the statements were made that the statements were false.

          247.    Defendants’ misrepresentations were made with reckless disregard for the truth.

          248.    Defendants intended that Plaintiffs and the Class Members would be induced into

   action by relying upon the statements of fact made to them by and on behalf of Defendants.

          249.    In considering whether to open accounts at BITCONNECT, invest in the BitConnect

   Investments, and entrust to BITCONNECT their valuable assets; Plaintiffs and the Class Members

   reasonably and justifiably relied on the statements of fact made to them by and on behalf of

   Defendants.

          250.    As a direct and proximate result of Plaintiffs’ and the Class Members’ reliance on the

   statements made to them by Defendants, Plaintiffs and the Class Members have suffered damage.



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                       COUNT X – NEGLIGENT MISREPRESENTATION

          Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

          251.    Defendants, by acts of both omission and commission, made to Plaintiffs and the

   Class Members false statements of material facts about the services Plaintiffs and the Class Members

   would receive from BITCONNECT upon opening a BITCONNECT account and investing in the

   BitConnect Investments in exchange for the fees they were compelled to pay to maintain accounts at

   BITCONNECT.

          252.    Specifically, Defendants’ representations to Plaintiffs and the Class Members that,

   among other things:

                  (a) BITCONNECT utilized a proprietary, secret trading system (the
                      “volatility software”) that helped its investors generate far-greater-than-
                      average returns on their investments;

                  (b) BITCONNECT’s guarantee of a one percent (1%) daily return on
                      investments would continue regardless of market performance or the
                      fluctuating value of bitcoin;

                  (c) Investment returns were legitimately generated and were not simply a
                      reallocation of new BITCONNECT investors’ money used to pay the
                      promised returns on outstanding BITCONNECT investors’ investments
                      in classic Ponzi scheme fashion;

                  (d) The BitConnect Investments complied with all applicable securities laws;
                      and

                  (e) The BitConnect affiliates who were paid commissions for their sale of
                      BitConnect Investments were properly registered to procure those sales

   were false, and Defendants knew, or should have known, at the time the statements were made that

   the statements were false.

          253.    Defendants had no reasonable grounds upon which to believe the statements were

   true when made to Plaintiffs and the Class Members.

          254.    Defendants intended that Plaintiffs and the Class Members would be induced into

   action by relying upon the statements of fact made to them by and on behalf of Defendants.

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          255.    In considering whether to open accounts at BITCONNECT, invest in the BitConnect

   Investments, and entrust to BITCONNECT their valuable assets; Plaintiffs and the Class Members

   reasonably and justifiably relied on the statements of fact made to them by and on behalf of

   Defendants.

          256.    As a direct and proximate result of Plaintiffs’ and the Class Members’ reliance on the

   statements made to them by Defendants, Plaintiffs and the Class Members have suffered damage.

                                       COUNT XI – CONVERSION

          Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

          257.    Plaintiffs transferred funds and assets to BITCONNECT for investment, and as a

   purported loan, to participate in the BitConnect Investments.

          258.    BITCONNECT has kept Plaintiffs’ and the Class Members’ funds and assets after

   Plaintiffs and the Class Members requested their return, despite BITCONNECT’s lack of any

   ownership interest in the assets and despite BITCONNECT’s agreement in writing to return to

   Plaintiffs and the Class Members -- in the form of fiat currency (i.e., U.S. Dollars or Euros), not

   BitConnect Coins -- all of Plaintiffs’ and the Class Members’ holdings.

          259.    By refusing to return to Plaintiffs and the Class Members their assets, BITCONNECT

   intended to interfere with, and indeed has interfered with, Plaintiffs’ and the Class Members’

   ownership and interest in those holdings and has deprived Plaintiffs and the Class Members of their

   property, permanently or temporarily.

          260.    Upon information and belief, BITCONNECT has utilized Plaintiffs’ and the Class

   Members’ funds and assets to cover BITCONNECT’s own business expenses, to enrich its Directors

   and shareholders, and to enrich its affiliates, including Defendants GLENN ARCARO, TREVON

   JAMES, RYAN HILDRETH, CRAIG GRANT, CRYPTONICK, and JOHN DOE NOS. 2-10.



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             261.    As a result of BITCONNECT’s conversion of Plaintiffs’ and the Class Members’

   funds and assets to its own corporate uses and the personal use of its Directors, shareholders, and

   affiliates; Plaintiffs and the Class Members have suffered damage.

                                     COUNT XII – CIVIL CONSPIRACY

             Plaintiffs re-allege, and adopt by reference herein, Paragraphs 1 - 156 above, and further allege:

             262.    Defendants conspired with one another to perpetrate an unlawful act upon Plaintiffs

   and the Class Members or to perpetrate a lawful act by unlawful means, to wit: they made multiple

   misrepresentations of fact to Plaintiffs and the Class Members in an effort to extract from Plaintiffs

   and the Class Members funds, assets, and cryptocurrency to fund BITCONNECT’s own business

   expenses, to enrich its Directors and shareholders, and to enrich its affiliates, including Defendants

   GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG GRANT, CRYPTONICK,

   and JOHN DOE NOS. 2-10 not the purportedly legitimate purpose to which Plaintiffs and the Class

   Members were told by Defendants that their investment assets were being applied – all of which put

   Defendants’ own pecuniary interest ahead of Plaintiffs’ and the Class Members’ welfare and economic

   safety.

             263.    Defendants solicited and/or accepted from Plaintiffs and the Class Members large

   sums of funds, assets, and cryptocurrency while withholding from Plaintiffs and the Class Members

   certain material facts, including:

                     (a) BITCONNECT did not utilize a proprietary, secret trading system (the
                         “volatility software”) that helped its investors generate far-greater-than-
                         average returns on their investments;

                     (b) BITCONNECT’s guarantee of a one percent (1%) daily return on
                         investments would not continue regardless of market performance or the
                         fluctuating value of bitcoin;

                     (c) Investment returns were not legitimately generated and were simply a
                         reallocation of new BITCONNECT investors’ money used to pay the
                         promised returns on outstanding BITCONNECT investors’ investments
                         in classic Ponzi scheme fashion;
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                  (d) The BitConnect Investments did not comply with all applicable securities
                      laws; and

                  (e) The BitConnect affiliates who were paid commissions for their sale of
                      BitConnect Investments were not properly registered to procure those
                      sales; and

                  (f) The “BCC School” orchestrated by Defendant GLENN ARCARO was
                      not a “school” at all; rather, it was a mere conduit to get BCC School
                      “graduates” to open up accounts at BITCONNECT, for which GLENN
                      ARCARO and his team of affiliates reaped from BITCONNECT the
                      riches of each client referral.

          264.    All Defendants agreed to the illicit purpose for garnering investment monies from

   Plaintiffs and the Class Members so that BITCONNECT’s Directors, shareholders, and affiliates

   could enjoy lavish lifestyles with Plaintiffs’ and the Class Members’ funds, assets, and cryptocurrency.

          265.    Defendants were each aware of, and consented to, the misrepresentations detailed

   above and knew that the efforts to garner funds, assets, and cryptocurrency from Plaintiffs and the

   Class Members was all part of a fraud aimed solely at enriching BITCONNECT’s Directors,

   shareholders, and affiliates without any intent to remunerate Plaintiffs and the Class Members in any

   legitimate way purported by the BitConnect Investments.

          266.    In furtherance of their conspiracy, Defendants made to Plaintiffs and the Class

   Members, or agreed to have someone make on their behalf, the false statements of fact detailed above

   and purposefully withheld from Plaintiffs and the Class Members certain material facts detailed above

   in a concerted effort to obtain Plaintiffs’ and the Class Members’ funds, assets, and cryptocurrency.

          267.    To fulfill their role in the conspiracy, the BITCONNECT corporate parties operated

   the BitConnect Websites and pretended to be operating a legitimate, legally-compliant trading

   exchange and lending platform.

          268.    To fulfill his role in the conspiracy, Defendant GLENN ARCARO managed, coached,

   and supported a United States-based team of BITCONNECT affiliates to sharpen their recruiting

   techniques and lure in BITCONNECT investors. Defendant GLENN ARCARO is also believed to
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   have created and orchestrated the BCC School, which was little more than a conduit to get BCC

   School “graduates” to open up accounts at BITCONNECT, for which GLENN ARCARO and his

   team of affiliates reaped from BITCONNECT the riches of each client referral.

           269.    To fulfill their role in the conspiracy, Defendants TREVON JAMES, RYAN

   HILDRETH, CRAIG GRANT, CRYPTONICK, and JOHN DOES NOS. 2-10 served as United

   States-based BITCONNECT affiliates who used social media channels such as YouTube, Twitter,

   and Facebook to recruit unsuspecting investors in the United States and abroad to purchase

   BitConnect Investments. For their efforts, Defendants TREVON JAMES, RYAN HILDRETH,

   CRAIG GRANT, CRYPTONICK, and JOHN DOES NOS. 2-10 were paid large commissions and

   participated in a lucrative bonus program that provided them sizeable incomes.

           270.    BITCONNECT conducted no legitimate business -- something of which Defendants

   GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG GRANT, CRYPTONICK,

   and JOHN DOES NOS. 2-10 were aware and which they accepted as part of the scheme to defraud

   BITCONNECT investors and accountholders, including Plaintiffs and the Class Members.

           271.    As a direct and proximate result of Defendants’ conspiracy, Plaintiffs and the Class

   Members have suffered damage.

                                              PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs CHARLES WILDES, FRANCISCO DORIA, ARIC HAROLD,

   AKIVA KATZ, JAMES GURRY, and RONALD NELSON, individually and on behalf of all others

   similarly situated, respectfully pray for relief as follows:

              (a) A declaration from this Court that this action is a proper class action, including
                  certification of the proposed Class, appointment of Plaintiffs as the class
                  representatives, and appointment of Plaintiffs’ counsel as class counsel;
              (b) An Order enjoining Defendants from making further transfers or dissipations
                  of the investment funds and assets raised in connection with the promoted


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                   BitConnect Investments, or using such funds and assets in any further
                   purchases or transactions;
               (c) A judgment awarding Plaintiffs and the Class Members equitable restitution,
                   including, without limitation, rescission of their investments in
                   BITCONNECT, restoration of the status quo ante, and return to Plaintiffs and
                   the Class Members all cryptocurrency or fiat currency paid to Defendants in
                   connection with the BitConnect Investments as a result of Defendants’
                   unlawful and unfair business practices and conduct;
               (d) An award of any and all additional damages recoverable under law -- jointly and
                   severally entered against Defendants -- including but not limited to
                   compensatory damages, punitive damages, incidental damages, and
                   consequential damages;
               (e) An Order requiring an accounting of the remaining funds and assets raised
                   from Plaintiffs and the Class in connection with the BitConnect Investments;
               (f) An Order imposing a constructive trust over the funds and assets rightfully
                   belonging to Plaintiffs and the Class;
               (g) Pre- and post-judgment interest;
               (h) Attorneys’ fees, expenses, and the costs of this action; and
               (i) All other and further relief as this Court deems necessary, just, and proper.

                               PLAINTIFFS’ DEMAND FOR JURY TRIAL

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand trial by jury in

   this action of all issues so triable.

                                                                    Respectfully submitted,

                                                                    SILVER MILLER
                                                                    11780 W. Sample Road
                                                                    Coral Springs, Florida 33065
                                                                    Telephone:      (954) 516-6000

                                                                    By:
                                                                             DAVID C. SILVER
                                                                             Florida Bar No. 572764
                                                                             E-mail: DSilver@SilverMillerLaw.com
                                                                             JASON S. MILLER
                                                                             Florida Bar No. 072206
                                                                             E-mail: JMiller@SilverMillerLaw.com
                                                                             Counsel for Plaintiffs

   Dated: January 24, 2018
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                                                    SILVER MILLER
                       11780 West Sample Road • Coral Springs, Florida 33065 • Telephone (954) 516-6000
                                                 www.SilverMillerLaw.com
